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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
MARCO ANTONIO PEREZ PEREZ, et al.,                             :

                          Plaintiffs,                        :
                                                                   ORDER
        -against-                                            :
                                                                   20 Civ. 8010 (LTS) (GWG)
ESCOBAR CONSTRUCTION, INC., et al.,                          :

                           Defendants.                         :
---------------------------------------------------------------X
GABRIEL W. GORENSTEIN, UNITED STATES MAGISTRATE JUDGE

        Plaintiffs have requested a 90-day extension of the deadline to file a motion to substitute the
administrator of the Estate of Oscar Garza for deceased opt-in plaintiff Oscar Garza. (Docket # 270)
(“Troy Let.”). Defendants have opposed this request, arguing that they will be “substantially
prejudiced” due to the “unnecessary and unreasonable length of this action.” (Docket # 271). Although
plaintiffs claim that this is their “first request” for an extension of this deadline, Troy Let. at 1, in fact
they have been granted two previous extensions, first to March 9, 2023 (Docket # 222) and then to May
15, 2023 (Docket # 233).

        Plaintiffs state that they have “not heard back” from the attorney handling Garza’s estate and
“are not sure what step of the process the [] attorney is at” in obtaining the documentation necessary for
a motion to substitute. Troy Let. at 1. It is evident from plaintiffs’ letter that they did not attempt to
contact the attorney for Garza’s estate until May 9, just one week before the deadline for this motion.
Id. Plaintiffs state that they seek a 90-day extension only as a “precautionary measure” to ensure that
they “have the right documents when they make their motion.” Id.

        Plaintiffs’ explanation that they were unable to contact the estate’s attorney is barely sufficient to
meet the good cause standard for extension under Fed. R. Civ. P. 6(b). The Court will grant an
extension of 21 days, until June 6, 2023, to move for substitution. The Court will not grant any further
extensions absent a memorandum of law explaining why good cause has been shown accompanied by a
detailed sworn statement showing all steps taken to determine whether an administrator of the estate has
been appointed, which may include efforts to contact the Texas court directly if necessary.

       Finally, plaintiffs are once again admonished (see Docket # 129, 150, 188, 261) that all filings
must comport with the Court’s Individual Practices. Docket # 270 fails to comport with paragraph 1.E,
which requires a request for extension to state “the number of previous requests for extensions” and “the
reasons given by the adversary for objecting.” The Court warns plaintiffs’ counsel that they will be
sanctioned for any future violation of those practices.

        SO ORDERED.

Dated: May 16, 2023
       New York, New York
